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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                                  )
 LISA PAGE,                                       )
                                                  )
                Plaintiff,                        )
                                                  )       Case No. 1:19-cv-03675-TSC
        v.                                        )
                                                  )
 U.S. DEPARTMENT OF JUSTICE, et al.,              )
                                                  )
                Defendants.                       )
                                                  )
                                                  )

                      CONSENT MOTION TO EXTEND DEADLINES

       Defendants hereby move for an extension of time to respond to Plaintiff’s complaint in the

above-captioned matter. Service was complete on December 30, 2019 and, accordingly, under

Rule 12(a)(3) of the Federal Rules of Civil Procedure, Defendants’ response is currently due on

February 28, 2020. Defendants respectfully ask the Court to extend that deadline until March 13,

2020 in light of competing litigation deadlines that have recently required the attention of counsel

for Defendants. This is Defendants’ first request for an extension of time to respond to Plaintiff’s

complaint. Counsel for Defendants contacted counsel for Plaintiff, who indicated that Plaintiff

consents to Defendants’ request.

       Defendants also intend to file a motion for summary judgment along with their response to

Plaintiff’s complaint on March 13, 2020, and Plaintiff’s counsel has requested Defendants’ consent

to an extension of time until April 3, 2020 to respond Defendants’ summary judgment motion.

Having no objection, Defendants incorporate that request into the instant consent motion.

Dated: February 26, 2020                              Respectfully submitted,

                                                      JOSEPH H. HUNT
                                                      Assistant Attorney General
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                                  MARCIA BERMAN
                                  Assistant Branch Director

                                  /s/ Bradley P. Humphreys
                                  BRADLEY P. HUMPHREYS
                                  GRACE X. ZHOU
                                  Trial Attorney, U.S. Department of Justice
                                  Civil Division, Federal Programs Branch
                                  1100 L Street, N.W.
                                  Washington, D.C. 20005
                                  Tel.: (202) 305-0878
                                  E-mail: Bradley.Humphreys@usdoj.gov

                                  Counsel for Defendants




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                                  )
 LISA PAGE,                                       )
                                                  )
                 Plaintiff,                       )
                                                  )       Case No. 1:19-cv-03675-TSC
         v.                                       )
                                                  )
 U.S. DEPARTMENT OF JUSTICE, et al.,              )
                                                  )
                 Defendants.                      )
                                                  )
                                                  )
                                                  )

                                     [PROPOSED] ORDER

         Having considered Defendants’ motion to extend deadlines, the parties’ agreement, and

for good cause shown, IT IS HEREBY ORDERED:

         The deadline for Defendants to respond to Plaintiff’s complaint is extended to March 13,

2020. The deadline for Plaintiff to file her opposition to Defendants’ forthcoming motion for

summary judgment is extended to April 3, 2020.

         SO ORDERED.



Dated:
                                                      Hon. Tanya S. Chutkan
                                                      United States District Judge
